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Attorneys for Plaintiff
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America, No. CR-22-08092-PCT-DGC (ESW)

Plaintiff,

INDICTMENT
Vs.
VIO: 18U.S.C. § 1512(c)(1) and 2
Samuel Rappylee Bateman, Destruction of Records in an
fficial Proceeding and Aid and
Defendant. Abet)
Count 1

18 U.S.C. § 1512(c)(2)

(Tamperin with an Official
roceeding

Count 2

18 U.S.C. § 1519 and 2
(Destruction of Records in a Federal
nvestigation and Aid and Abet)
Count

 

 

 

THE GRAND JURY CHARGES:
COUNT 1
On or about August 28, 2022, in the District of Arizona, the defendant, SAMUEL
RAPPYLEE BATEMAN, and others known and unknown to the grand jury, did corruptly
alter, destroy, mutilate, and conceal a record, and attempted to do so, with the intent to
impair its integrity and availability for use in a foreseeable criminal proceeding before a
Court of the United States, an official proceeding, that is, by deleting and attempting to

delete electronic communications associated with Signal accounts.

 
 

 

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In violation of Title 18, United States Code, Section 1512(c)(1) and 2.
COUNT 2

On or about August 28, 2022, in the District of Arizona, the defendant, SAMUEL
RAPPYLEE BATEMAN, did corruptly obstruct, influence, and impede a foreseeable
prosecution before a Court of the United States, an official proceeding, and attempted to
do so, by directing others known and unknown to the grand jury to destroy records, that is,
by deleting and attempting to delete electronic communications associated with Signal
accounts.

In violation of Title 18, United States Code, Section 1512(c)(2).

COUNT 3

On or about August 28, 2022, in the District of Arizona, the defendant, SAMUEL
RAPPYLEE BATEMAN, and others known and unknown to the grand jury, did knowingly
alter, destroy, mutilate, and conceal records, that is, electronic communications associated
with Signal accounts, with the intent to impede, obstruct, and influence the investigation
and proper administration of a matter that the defendant contemplated was within the
jurisdiction of the Federal Bureau of Investigation, a department and agency of the United
States.

In violation of Title 18, United States Code, Section 1519 and 2.

A TRUE BILL
S/

FOREPERSON OF THE GRAND JURY
Date: September 6, 2022

 

GARY M. RESTAINO
United States Attorney
District of Arizona

S/

DIMITRA H. SAMPSON
Assistant U.S. Attorney

 

 

 
